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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                          GAINESVILLE DIVISION

CHARLES COLLINS,

   Plaintiff,
                                            CASE NO.: 2:18-CV-00176-RWS

-vs-

OPTIMUM OUTCOMES, INC.,

   Defendant.
                                 /

                          NOTICE OF SETTLEMENT

       Plaintiff, Charles Collins, by and through the undersigned counsel, hereby

notifies the Court that the parties have reached a settlement with regard to this case

and are presently drafting and finalizing the settlement agreement, and general

release or documents. Upon execution of the same, the parties will file the

appropriate dismissal documents with the Court.

                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been

furnished via electronic mail on this 16th day of October, 2018 to: all counsel of

record.
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                           /s/Octavio Gomez
                           Octavio “Tav” Gomez, Esquire
                           Georgia Bar #: 617963
                           Morgan & Morgan, Tampa, P.A.
                           201 North Franklin Street, 7th Floor
                           Tampa, FL 33602
                           Telephone: (813) 223-5505
                           Facsimile: (813) 223-5402
                           tgomez@forthepeople.com
                           fkerney@forthepeople.com
                           snazario@forthepeople.com
                           Counsel for Plaintiff
